 

Case 2:15-cv-03879-JMA-ARL Document 50-4 Filed 11/14/19 Page 1 of 42 PagelD #: 153

 

EXHIBIT “C”
 

 

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UNITED STATES DISTRICT COURT

 

EASTERN DISTRICT OF NEW YORK

EDWARD REICHERTER, :

Plaintiff,

“

~against-

=

€s

TOWN OF HEMPSTEAD,

Defendant. :

100 Garden City Plaza
Garden City, New York

August 20, 2018
10:23 o'clock a.m.«

DEPOSITION of EDWARD REICHERTER, the

Plaintiff herein, taken by the Defendant,

pursuant to Notice, held at the above-mentioned

time and place, before Patricia Severin, a

Notary Public of the State of New York.

SEVERIN & ASSOCIATES, INC. 516 628-1402
 

 

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Edward Reicherter 15

your CDL, your ramset certificate and your
certificate for operating a forklift through
the Town of Hempstead; is that correct?

A Yes.

Q Now was that a course provided by
the Town?

A Yes.

Q Was it one course, multiple courses
or something else?

A One course.

Q Did you have to take any followup
courses after those initial courses, in order

to maintain those certificates?

A No.

Q Are you currently employed?

A Yes,

Q And who are you employed by?

A Town of Hempstead Parks and
Recreation.

Q Other than the Town are you

currently employed by anyone else?

A No.
Q Currently what is your title with

the Town of Hempstead?

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Edward Reicherter 16
A Park Supervisor 3.
Q Currently, as we sit here today,

what are your duties as a park supervisor 3?

A Right now I'm working for tech
services in the construction part of the Town
of Hempstead.

Q And what are your daily job
responsibilities in that role?

A Construction work, cement work,
carpentry, just about -- painting. Just about
anything that coincides with construction in
the Town of Hempstead.

Q So when you say construction in the
Town of Hempstead, will you go to various
buildings within the Town in order to perform
this construction work?

A Yes.

Q And currently who is your

supervisor at tech services?

A Terrence Murray.

Q Do you know what his title is?

A I believe he's got the same title I
do.

Q When did you first become employed

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Edward Reicherter 17

by the Town of Hempstead?

A November of 19 -- full time or part
time?

Q Let's start with part time.

A Part time? I'm going to say it was

the summer of '82, 1982, part time.

Q Were you a seasonal worker in the
summer of '82, or a part-time worker, if you
know?

A I don't know. I don't think they
had it back then. I don't think they had
seasonal/part-time back then.

Q Okay. For the purposes of the
deposition I'm just going to say that you had a
part-time position with the Town,
notwithstanding the current distinction in the
Town between a part-time employee and a

seasonal employee.

A Okay.

Q Do you understand?

A I understand, yes.

Q Okay. So when you were a part-time

employee with the Town what were your work

hours?

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Case 2:15-cv-03879-JMA-ARL Document 50-4 Filed 11/14/19 Page 6 of 42 PagelD #: 158

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Edward Reicherter 18

A At the beach I was 6:00 to 2:00,
7:00 to 3:00.

Q Did you work anywhere other than
the beach?

A Yes.

Q Where else did you work?

A I was at Echo Park.

Q And what was your shift at Echo
Park?

A The shifts would -- it was open at

7:00 in the morning and closed 10:00 at night.

So I could -- I worked any time in between
there when they needed ~~ as needed, being part
time.

Q But you worked eight-hour shifts?

A Eight-hour shifts.

Q Now when did you become a full-time

employee of the Town of Hempstead?

A November of 1985.

Q And when you became a full-time
employee in 1985 what title did you hold with
the Town?

A Laborer 1.

Q How did you get your position with

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Edward Reicherter 29

A Yes.

Q We're just going to go through
briefly to look at the titles that you've held
within the Town of Hempstead that you've just
testified to, just to refresh your
recollection; okay?

A Thank you.

Q Okay. So at the top of the page
you'll see the very first row, it says November
12th, 1985, laborer 1. That is the first
full-time title that you've held with the Town
of Hempstead; correct?

A Correct.

Q Okay. And if you go about halfway
down the page, you'll see in the left-hand
column there's a date, it says August 8th,
1988. And next to that it says maintenance
mason; do you see that?

A Yes.

Q Is that the next title that you
held with the Town of Hempstead after you were
a laborer 1?

A Yes.

Q Is that a tested position?

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Case 2:15-cv-03879-JMA-ARL Document 50-4 Filed 11/14/19 Page 8 of 42 PagelD #: 160

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Edward Reicherter 30

A No.

Q Okay. And how did you obtain that
title?

A Through, I guess, my work ethic.

Q Your work ethic?

A Ethic, yes.

Q All right. So you were appointed

to the title of maintenance mason; correct?

A Yes.

Q Now if you turn to the second
page —~

A (Complying) .

Q (Continuing) ~* which is Bates

stamped TOH-REICH00002, you'll see, again about
halfway down the page, in that first column on
the left, there's a date that says January
15th, 1996, and right next to that date it says
maintenance mechanic 2.

Is that the next title that you

held after being a maintenance mason?

A Yes.
Q Okay. Is that a tested position?
A No.
Q Okay. That was also an appointed

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Case 2:15-cv-03879-JMA-ARL Document 50-4 Filed 11/14/19 Page 9 of 42 PagelD #: 161

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Edward Reicherter 31

position; correct?

A Yes.

Q Now if you go down the same page
you'll see a date in the column on the left
that says November 23rd, 1998. And next to
that it says groundskeeper 3.

Is that the next title you held

after being a maintenance mechanic 2?

A Yes.

Q Is that a tested position?

A No.

Q So you were appointed to that

position; correct?

A Yes.

Q Okay. If you turn to the next
page --

A (Complying).

Q (Continuing) -- this is the page

that's Bates stamped TOH-REICHO00003, you see

towards the top of the page, in that Left-hand

column, there's a date, it says August 14th,

2000, and next to it it says park supervisor 1.
A Yes.

Q Is that the next title that you

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Edward Reicherter 32

held after being a groundskeeper 3?

A Yes.

Q Is that a tested position?

A Yes.

Q Do you recall when you took the

test in order to obtain the park supervisor 1

title?
A No.
Q Now what were your job duties as a

park supervisor 1?

A Office work, scheduling, ordering
equipment and supervising.

Q How many employees did you
supervise at that time?

A I don't know.

Q As a park supervisor 1 were you

assigned to a specific park within the Town of

Hempstead?
A Yes.
Q Do you remember the names of any of

the parks that you were assigned to as a park
supervisor 1?
A Hewlett Point Beach.

Q Tf I said Hewlett Point Park =<-

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Edward Reicherter 33
A Yes.
Q (Continuing) -- would that
refresh--
A Yes.
Q (Continuing) ~- your recollection?
A Hewlett Point Park, yes.
Q Any other parks?
A Merrick Road Park.

Q As a park supervisor 1 what kind of

office work did you do?

A Sign documents, sign paperwork.
Q Like what kind of paperwork?
A Well, order forms, receipts.

That's all I could remember.

Q Okay. Now if we go back to what
has been marked as Defendant's Exhibit C, if
you stay on that third page that's Bates
stamped TOH-REICHO0003, if you look towards the
bottom of that page, in that same left-hand
column we've been talking about, you'll see the
date of November 17th, 2004, and next to that
date you will see it says park supervisor 2; do
you see that?

A Yes.

SEVERIN & ASSOCIATES, INC. 516 628-1402
 

Case 2:15-cv-03879-JMA-ARL Document 50-4 Filed 11/14/19 Page 12 of 42 PagelD #: 164

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Edward Reicherter 34
Q Is that the next title that you

held after being a park supervisor 1?

A Yes.

Q Is that a tested title?

A Yes.

Q Do you recall when you took that
test?

A No.

Q What were your job duties as a park

supervisor 2?
A The same as park supervisor 1.
Q As a park supervisor 2 did you also

supervisor certain parks within the Town of

Hempstead?
A No.
Q You didn't?
A No.
Q So what did you do as a park

supervisor 2?

A I was put in a park as a laborer.
I was put back as a laborer in a park.

0 If you look back at Defendant's
Exhibit C it says you began working as a park

supervisor 2 in November of 2004; is that

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Case 2:15-cv-03879-JMA-ARL Document 50-4 Filed 11/14/19 Page 13 of 42 PagelD #: 165

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Edward Reicherter 45

After you were park supervisor 2

did you then become a park supervisor 3?

A

Yes.
Now is that a tested position?
Yes, it is.

Do you recall when you took that

No.

Do you recall when you began

working within the title of park supervisor 3?

A
May 6th.

Q

A

Q

question.

Probably within May 6th, that --

So sometime in May, 2009 --
Yes.
(Continuing) -- correct?

Just wait until I finish the

In May of 2009, when you became a

park supervisor 3, were you still working

within Oceanside Park?

A

Q

A

I don't remember.
Okay.
I don't remember.

MS. COSTELLO: Off the

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Edward Reicherter 62
Department.
Do you see that?
A Yes.
Q When did you first become involved
in the East Rockaway Fire Department?
A October of 1992.
Q Were you a firefighter within the
department in October of 1992?
A Yes.
Q Okay. When did you first become an

assistant chief within the fire department?

A 2006.
Q Now I just want to clarify
something. Going forward, when I say fire

department, I'm referring to the East Rockaway

Fire Department; okay?

A Yes.

Q Do you understand?

A Yes.

Q Okay. You just testified that you

first became an assistant chief in 2006;

correct?
A Correct.
Q Within the fire department are

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Case 2:15-cv-03879-JMA-ARL Document 50-4 Filed 11/14/19 Page 15 of 42 PagelD #: 167

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Edward Reicherter 69

Q Okay. In paragraph 8 of the
Complaint you indicate that you have served as
chief of the department; do you see that in the

document «=

A Yes.

Q (Continuing) -~ that's before you?
A Yes.

Q Okay. When did you first become

chief of the East Rockaway Fire Department?

A 2010.

Q Did you serve as chief just for
that year?

A Yes.

Q Did there come a time when you were

reelected chief of the department?

A Yes.

Q And when was that?

A 2014.

Q. And did you serve as chief just for

the year of 2014?

A Yes.

Q In 2015 were you elected as chief?
A No.

Q In 2015 were you elected as

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Edward Reicherter 71

date, and who was on the roster.

Q Okay. And in this paragraph you
state you started going on fire calls while you
were at Oceanside Park; correct?

A Correct.

Q When did you first start going on

fire calls as an employee of the Town of

Hempstead?

A In 1992, when I joined the
department.

Q When you joined the department as a
firefighter?

A Yes.

Q From 1992 through 2006, when you

were transferred to Oceanside Park, did you

attend fire calls while employed by the Town of

Hempstead?
A Yes,
Q So you would leave whichever park

you were assigned to at the time to attend a
fire call, and then return to work?

A Only within the responding
district, yes.

Q What's a responding district?

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Edward Reicherter 72
A I was told it was two miles radius
of my responding area.
Q A two-mile radius from where?
A Wherever I was stationed at that

time for the Town of Hempstead, or working.

Q So if you were stationed in
Oceanside --

A Yes.

Q (Continuing) -- was that within a

two-mile radius of the Village of East

Rockaway?
A Yes, it is.
Q So in Oceanside you would have

responded to fire calls because it was within
your responding district; correct?

A Correct.

Q Okay. Now you just said that you
were told that your responding district was
within two miles of whichever park you were

assigned to in Hempstead; correct?

A Yes.

Q Who told you that?

A I don't remember.

Q Was it a Town employee?

SEVERIN & ASSOCIATES, INC. 516 628-1402

 
 

Case 2:15-cv-03879-JMA-ARL Document 50-4 Filed 11/14/19 Page 18 of 42 PagelD #: 170

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policy that
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Edward Reicherter
Did the Town of Hempstead have a
allowed members of local fire

to attend fire calls during working

Not that I know of.
Did the Town have an unwritten
allowed members of local fire

to attend fire calls during work

Yes, unwritten.

Unwritten?

Yes.

What was this unwritten policy, to
your recollection?

That if you're within your

responding area and the call comes in you're

allowed to go. And that was before me, and

probably after me.

Q

PrP MO PF

department.

Q

Before me, meaning

Before I was ever involved =

Wait --
(Continuing) == with the fire
(Continuing) ~~ until I finish the

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Edward Reicherter 79
knowledge I would say yes.

Q And what was the sum and substance
of that conversation?

A I don't remember,

Q Did Mike Sullivan advise you that
you had to submit some kind of documentation
showing that you had responded to fire calls,
to him, when you responded to fire calls at
Oceanside Park?

A Yes.

Q And did you submit documentation to
him, showing that you did in fact respond to

fire calls --~

A Yes.

Q (Continuing) ““ while at Oceanside
Park?

A I'm sorry, yes.

Q What kind of documentation did you

submit to him?

A The call sheet.

Q The fire call sheet that we talked
about earlier?

A Yes.

MS. COSTELLO: Would mark

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Edward Reicherter | 122
presence of a CSEA representative.
Do you recall that?

A Yes, during the time I signed it.

Q So when you signed it was the first
time that this. issue had been brought to your
attention; is that correct?

A Correct.

Q Okay. Are you presently a coach
for the East Rockaway High School?

A No.

Q Were you a coach for the East
Rockaway High School at the time of this Notice
of Discipline and Charges which is dated
November 6th, 2009?

A Yes.

Q When did you first become a coach
for the East Rockaway High School?

A That was my first. I was just
employed at that time. Probably August ~--
well, July of 2009.

Q Now was that a summer position with
the school or was it meant to be for a longer
term?

A Like a pre-derm (sic) summer. But

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Edward Reicherter

Ninivaggi told you that the Commissioner, Joe
Bentivegna, said if you grieved this discipline
you're fired; is that what your testimony is?

A Yes.

Q Did you ever speak to Joe
Bentivegna about that?

A He would never take my calls or
speak to me about it.

Q But you did admittedly leave your
shift at the Town of Hempstead during working
hours to go work at the East Rockaway High
School District; correct?

A Correct.

Q Okay. Did you meet with John
Ninivaggi in order to sign this Notice of

Discipline and Charges?

A Yes.

Q Was anyone else present at that
time?

A No, he -- the CSEA representative

was asked to leave the room.
Q And who asked the CSEA
representative to leave the room?

A John Ninivaggi.

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Edward Reicherter 129

Q In that paragraph you state, In or
around July, 2010 Mayor Ed Sieban passed away.
Following Mayor Sieban's passing things changed
for the Plaintiff politically.

Who was Ed Sieban?

A He was the Mayor of the Fast

Rockaway -~- Village of East Rockaway, and he

also worked for the Town of Hempstead Council

Room.

Q Who did he work for?

A The council, the Town of Hempstead
Council.

Q The Town Board?

A The Town Board.

Q What was his position with the Town
Board?

A I do not know. I don't know if he
was -- I mean I don't know.

Q Was he an executive assistant to a

council member?

A I think to the whole board, to the
best of my knowledge.

Q Okay. Now in the second sentence

of that paragraph you state, Things changed for

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Edward Reicherter 130

Plaintiff politically.

What does that mean?

A Well, he was the mayor and he was

easy to work with, and we were both from the

same political party together.

And after that

had happened they wanted to run another mayor

for his position. And being that I was chief

of the department at the time I had to stay

bipartisan mutual, because if this side won, I

would have to work -- if one side or the other

side won the election, being chief of the

department I had to work with either side, so I

stayed neutral within this election. And I

live in the Town of Hempstead,

I don't live in

the Village, so I can't vote anyway.

Q You just said that you were in the

same political party as Ed Sieban; correct?

A Correct.

Q And which political party is that?
A The Republican Party.

Q Are you currently still involved

with the Republican Party?

A No.

Q When did you first become involved

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516 628-1402

 
 

Case 2:15-cv-03879-JMA-ARL Document 50-4 Filed 11/14/19 Page 24 of 42 PagelD #: 176

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Edward Reicherter 131

in the Republican Party?

A 1986 or '7.

Q In 1986 or '7 were you involved in
the East Rockaway Republican Club?

A Yes.

Q Did you ever hold the position of

committeeman with the East Rockaway Republican

Club?

A Yes.

Q When did you first become a
committeeman?

A 1988, '89.

Q Are you still a committeeman?

A No.

Q What were your duties as
committeeman?

A Selling tickets. Doing petitions,
signing -- get signatures on a petition.

Coordinate fundraising events for the

committee.
Q How does one become a committeeman?
A You get appointed.
Q Who appointed you as a
committeeman?

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Edward Reicherter 142

three.

Q Okay. Now it goes on to state,
Plaintiff did not go on fire calls while
holding this position. Newbridge Road Park is
located outside of the responding districts.

Do you see that?

A Yes.

Q So earlier you discussed that if
you were located within a park that was within
two miles of East Rockaway, you were able to
attend fire calls; correct?

A Correct,

Q Now since Newbridge Road Park was
located outside of that two-mile radius, you no
longer went on fire calls during that time;
correct?

A Correct.

Q When you were supervisor of
Newbridge Park?

A Correct.

Q Okay. At the time that you became
supervisor of Newbridge Road Park what was your
civil service title?

A Park supervisor 3.

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Case 2:15-cv-03879-JMA-ARL Document 50-4 Filed 11/14/19 Page 26 of 42 PagelD #: 178

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Edward Reicherter 143

Q While you worked as the supervisor
of Newbridge Road Park did you know an

individual by the name of Brian Dazzo?

A He was one of my assistants in the
office.

Q He was an assistant supervisor of
the park?

A No.

Q He was just an assistant?

A Yes.

Q Do you know what his civil service

title was?

A At that time I believe -- I really
don't know. I didn't know what his title was.
Q ' Do you recall when you first met

Brian Dazzo?

A When I was transferred on April
25th.

Q So he was already working at
Newbridge Road Park at the time?

A Yes.

Q And that is April 25th, 2011;
correct?

A Correct.

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Case 2:15-cv-03879-JMA-ARL Document 50-4 Filed 11/14/19 Page 27 of 42 PagelD #: 179

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Edward Reicherter 158

Yes, in 2012.

Q It was in 2012?
A Yes.
Q When you were transferred from

Newbridge to Shell Creek did your title change?

A No.

Q So you were still a park supervisor
3; correct?

A Correct.

0 When you were transferred from
Newbridge to Shell Creek did you receive a
decrease in pay?

A No.

Q Now if you look at paragraph 17 of
your Complaint, it's on page 5 =~

A (Complying).

Q (Continuing) -- the second sentence
says, At such time Plaintiff was inexplicably
transferred to Shell Creek, Island Park, as a
backup supervisor to John Zappolo.

What were your duties you as a
backup supervisor?

A Actually I think I was third in

charge.

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Case 2:15-cv-03879-JMA-ARL Document 50-4 Filed 11/14/19 Page 28 of 42 PagelD #: 180

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Edward Reicherter 161
A Mike Zappolo through John Zappolo.
Q And who is John Zappolo?
A The supervisor.
Q The supervisor of --
A Of Shell Creek.
Q (Continuing) -- Shell Creek Park?
Wait until I finish.
A I'm sorry. I'm sorry.
Q That's okay.
Of Shell Creek Park?
A Yes.
Q Now you had just mentioned that

there was already another assistant supervisor

of Shell Creek Park; correct?

A Correct.
Q Who was that individual?
A I believe her name was Barbara, but

I don't remember her last name.

Q Barbara Simms; does that refresh
your -+

A No.

Q No?

A No, she's recreation.

Q Okay.

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Edward Reicherter 167

A Yes.

Q Would they generally come after
3:00 o'clock or before 3:00 o'clock?

A Both.

Q Both, okay.

Did it depend on the time of the

year?
A No.
Q Okay.
A Well, yes, I'm sorry.

In the spring, when the kids were
in school, they would come after 3:00 o'clock.

Q Okay.

A And then during the summer they
would start at 8:00 o'clock in the morning and
finish 8:00 o'clock at night.

Q Okay. I want to go back. If you
look at, back to Exhibit L, the Complaint ==

A Uh-hum.

Q (Continuing) -~ if you look at
paragraph 18 ==

A Uh-hum.

Q (Continuing) -- it says, Meanwhile,

Plaintiff's backup supervisor at the Newbridge

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Edward Reicherter 168
Road location, Brian Dazzo, became the new park
supervisor. This was especially curious, as
Dazzo had far less qualifications than
Plaintiff and had never before held a
supervisory position. Despite Dazzo's inferior
employment history Defendant appointed him as
park supervisor, over Plaintiff, at its
Newbridge Road location.
Do you see that?

A Yes.

Q You claim in this paragraph that
Mr. Dazzo had far less qualifications than you
in order to be the supervisor of Newbridge

Park; correct?

A Correct.

Q On what facts do you base that
belief?

A Because I believe he was only put

in the park in January, which is four months
before I was put in the park in May. And I
figure I have 35 -- at that time, probably 28
years in the Parks Department, where he had a
year and a half, not even.

Now I'm not sure when he was

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Edward Reicherter 174

Mr. Dazzo was previously a vice president of
JPMorgan Chase Bank?

A No.

Q If you look at paragraph 19 of the
Complaint ==

A (Complying), uh-hum.

Q (Continuing) == on that same page
that we've been looking at, The Plaintiff's
transfer put him back in responding distance
and Plaintiff proceeded to go on fire calls and
reported to his supervisor John Zappolo.

Do you see that?

A Yes.

Q When you first began working at
Shell Creak Park did you have a conversation
with John Zappolo about you attending fire

calls in East Rockaway?

A Yes.

Q When did that conversation occur?

A Sometime after I was transferred
there.

Q Do you recall the sum and substance

of that conversation?

A No. He’ knew I was chief, because I

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Edward Reicherter 175

had the chief truck, and he says as long as l
call and report, he has no problem.
Q Did he require you to submit fire

call sheets to prove that you had been on fire

calls?
A No.
Q He just wanted you to call him and

tell him that you were leaving the park to go
to a fire call; is that your testimony?

A Yes.

MS. COSTELLO: Would you mark
this, please, as Defendant's
Exhibit 4%.

(Above-described marked as
Defendant's Exhibit xX, for
Identification, as of this date.)

Q Okay, Mr. Reicherter, I am going to
show you an exhibit that's been marked as
Defendant's Exhibit X. It's entitled Town of
Hempstead Department of Parks and Recreation
Inter-Department Memo. It's Bates stamped
TOH-REICHO0166.

(Handing Defendant's Exhibit X to

the witness).

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Edward Reicherter 184
If you turn to paragraph 21, on the
next page --

A (Complying).

Q (Continuing) -- it says, At such
time Plaintiff took emergency leave from his
duties with the Defendant. Specifically,
Plaintiff did not work from approximately

November, 2012 to the beginning of January,

2013.
Do you see that?
A Yes.
Q What do you mean by emergency
leave?
A Well, at the time that Hurricane

Sandy had hit, I got a call from my supervisor,
John Zappolo, telling me that Town Hall was
closed, and that we're not working that day,
that he'll be in touch with me.

At this time a week goes by, I
called John Zappolo, who I heard that everybody
was working overtime because of Hurricane
Sandy, and advised him that I'm available, I
could work overtime; he was working with the

Commissioner at the time, Joe Bentivegna. He

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Edward Reicherter 185
said, I'll put the Commissioner on.

The Commissioner would not get on
the phone. Because I was going to ask him that
I was available, because I could use the
overtime to pay for the damages in my house.

He denied to get on the phone.

And at this time I had asked my
supervisor John Zappolo to ask him if I could
have emergency vacation time, because I was
going to work on my house, and he granted me
the emergency vacation time, over the phone.

Q When you say he granted you the
emergency vacation time over the phone, do you
mean John Zappolo or Commissioner Bentivegna?

A Commissioner Bentivegna.

Q Did you agtually hear his voice
through the phone?

A Yes.

Q Now in order to take this emergency
leave did you have to use your vacation time?

A Yes.

Q Now let's back up a little bit.

You just testified that shortly

after Sandy you spoke with John Zappolo and he

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Edward Reicherter 200

personally for Santino, do you mean that he was
an employee of the Town, that worked for
Santino?

A The Town of Hempstead. He worked
for the Town of Hempstead, for Santino.

Q Now at some point in time Anthony
Santino became the supervisor of the Town of

Hempstead; correct?

A Correct.

Q Was that in January, 2016, to your
knowledge?

A No, it was November, I thought --
no, ‘17, I think. I don't remember when he got

-- when he came, I don't remember.
MR. TAND: Can we go off the
record, for a second?
(At this time there was a
discussion held off the record.)
MS. COSTELLO: For the
record, counsel just had a
discussion off the record, wherein
we established that Anthony. Santino
became Supervisor of the Town of

Hempstead in January of 2016.

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Edward Reicherter 230

Exhibit CC.

(Above-described marked as
Defendant's Exhibit CC, for
Identification, as of this date.)

Q Okay, Mr. Reicherter, I am going to
show you what has been marked as Defendant's
Exhibit Cc. It is Bates stamped
TOH-REICHO00454.

(Handing Defendant's Exhibit Cc to
the witness).

Please take a look at it.

A (Perusing the exhibit).
Okay.
Q Now this is a check dated December

17th, 2013 in the amount of $27,464.62;
correct?

A Correct.

Q Is this the check you received as

payment for your vacation time?

A Yes, but not all.

Q What do you mean yes, but not all?

A This was only for fifty days, fifty
days on the books. There was a discrepancy in

‘time, where they still owed me time for days

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Edward Reicherter 237

Q Now this document that we're

looking at is dated September 15th, 2016;

correct?
A Correct.
Q So according to page three of that

document, the sick time in relation to that
comp case was reinstated to you; correct?

A Correct,

Q And that was sick time that you
were owed, not vacation time; correct?

A Correct.

Q Okay. That's all I have for that.

: Barlier we discussed that you were

terminated in August of 2013; correct?

A Correct.

Q Did you grieve that termination?
A Yes.

Q And that resulted in an

arbitration; correct?

A Correct.

Q What was the result of that
arbitration?

A That I was reinstated back to he

park supervisor 3, with my salary, and back to

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‘Edward Reicherter 240

Recreation building. And then within that
building there's different departments; there's
personnel, there's cultural arts and then
there's recreation, aquatics.

Q So you were within the recreation
department within 200 Franklin Street; correct?

A Yes, 200.

Q And that's the Parks Administration

building; correct?

A Correct.

Q And what were your duties at that
time?

A Answer telephones.

Q What kind of calls did you answer?

A I took scores for the fire

department softball team.

Q What - did you do with those scores
after you recorded them?

A I put them in an envelope and I put
them in Laura Peniciotta (phonetic), who was
the field coordinator for the Town of
Hempstead, the athletic field coordinator.

Q What was the purpose of recording

those scores?

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Case 2:15-cv-03879-JMA-ARL Document 50-4 Filed 11/14/19 Page 39 of 42 PagelD #: 191

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Edward Reicherter 244
misconduct for leaving the park without
permission, which park are you referring to in
that paragraph?

A It would have to be Shell Creek or
Harbor Isle.

Q Is this an incident that occurred
prior to your termination in August of 2013?

A Yes,

Q Do you recall when it occurred
prior to your termination in August of 2013?

A I don't understand the question.

Q This incident where the Town
alleged that you had left the park without
permission, did that occur at some point in
2013, before your termination in August?

A Yes.

Q Okay. Did you receive a formal
discipline for this incident?

A No. |

Q Okay. After you were reinstated to
your position with Parks did you apply to take
the civil service exam for Special Park
District Supervisor?

A Yes.

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Case 2:15-cv-03879-JMA-ARL Document 50-4 Filed 11/14/19 Page 40 of 42 PagelD #: 192

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Edward Reicherter 253
application fee was nonrefundable; correct?

A Correct.

Q Okay. Did there come a point in
time when you did sit for the exam for special
park district. supervisor?

A Yes, there was.

Q And when was that?

MR. TAND: If you remember.

Q If you remember.

A Yeah, I don't remember the date.

Q Was it this year?

A ‘18? No.

Q It was 2017, to the best of your
knowledge?

A (No verbal response).

Q If you don't remember, that’s fine.

A I don't remember, yes.

Q But at some point you did actually

sit for the exam; correct?

A Yes.

Q And no one prevented you from
sitting for that exam; correct?

A Correct.

Q Did you pass that exam?

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Case 2:15-cv-03879-JMA-ARL Document 50-4 Filed 11/14/19 Page 41 of 42 PagelD #: 193

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Edward Reicherter 254
A No, I don't ** well, I don't think
I did. I never got any notification back from

civil service yet.
Q You never received a notification
from civil service?
A No.
MS. COSTELLO: Off the
record,
(At this time there was a
discussion held off the record.)
Q Barlier today you testified you are
currently working in tech services; correct?
A Correct.
Q You still hold the title of park
supervisor 3?
A Correct.
Q When did you first begin working

for tech services?

A This is '18. Right?
Q Yes.
A So it was July 25th, 26th, of '16,

to present.
Q And what are your duties in that

role?

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Edward Reicherter 261

MR. TAND: We'll take that

under advisement.

THE WITNESS: Thank you.

(Time noted: 4:45 p.m.)

I have read the foregoing transcript of my

deposition and find it to be true and accurate

to the best of my knowledge and belief.

 

 

EDWARD REICHERTER

Subscribed and sworn to

before me this q y day

Lhlen ber.

     
   

My Comission Expires _

 

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